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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
CRIMINAL RULE 57.4
In Case Number 1:23-cr-36 , Case Name USA v. Christian Kirschner

Party Represented by Applicant: Christian Kirschner

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

PERSONAL STATEMENT
FULL NAME (no initials, please) Christopher McGuire Flood
Bar Identification Number 97155700 State Texas
Firm Name Flood & Flood
Firm Phone # 713-223-8877 Direct Dial # N/A FAX # 713-223-8879

E-Mail Address chris@floodandfoad.com
Office Mailing Address 914 Preston St., Ste. 800, Houston, Texas 77002

Name(s) of federal district court(s) in which I have been admitted Northem, Southern, Eastem, Westem Districts of Texas; District of Colorado

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of

Evidence is current.

Iam [_] am not [Ja full-time employee of the United States of America, and if so, fee. from the admission fee.

(Applicant’s Signature)
applicant

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

Meet h ea pe 03/02/2023

(Signature) i (Date)
Allism Kk. Ri djle- 3724
(Typed or Printed Name) (VA Bar Number)

Court Use Only:
Clerk’s Fee Paid [] or Exemption Granted [_]

The motion for admission is GRANTED [_] or DENIED [[]

(Judge’s Signature) (Date)
